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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION



Justin C Pfeiffer                        §
                                         §
versus                                   §             Case Number: 4:19−cv−02760
                                         §
Ajamie PLLC, et al.                      §

                           Notice of Reassignment

       Pursuant to Special Order No. 2019−4, this case is reassigned to the docket of
United States District Judge Charles Eskridge. Deadlines in scheduling orders remain
in effect, and all court settings are vacated.


Date: October 24, 2019
                                                              David J. Bradley, Clerk
